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                        Composite
                EXHIBIT 5
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      C              Consumer Fi   ncial
                     Protoction 8uroau




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      1295563
      Date CFPB received the                      Product
      complaint
                                                  Mortgage
      3/23/2015
                                                  Sub-product: Other mortgage

      Consumer's state
                                                  Issue
      VA
                                                  Loan servicing, payments, escrow account
      Consumer's zip
                                                  Consumer consent to publish narrative
      201XX
                                                        Consent provided
      Submitted via
                                                  Consumer complaint narrative
      Web
                                                  I received a letter in the mail from Rushmore Loan
      Tags                                        Management LLC claiming that I was delinquent on my XXXX
                                                  trust loan. They demanded that I pay all past due amounts --
      Did consumer dispute the                    there are none -- and sign up for their automatic withdrawal. ( I
      response?                                   send the payment via XXXX every month on the due date, and
      No                                          it is received by Rushmore that day. )



      Company information
      Date complaint sent to                      Timely response?
      company
      3/23/2015                                   •     Yes

                                                  Company response to consumer
      Company name                                Closed with explanation
      RUSHMORE LOAN
      MANAGEMENT SERVICES                         Company public response
      LLC




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                                                                                              Protection Bureau#: 39



      C              Consumer Fi   ncial
                     Protoction 8uroau




      <Back to search results                                                             What do all these data points mean?


      1333621
      Date CFPB received the                      Product
      complaint
                                                  Mortgage
      4/16/2015
                                                  Sub-product: Conventional adjustable mortgage (ARM)

      Consumer's state
                                                  Issue
      CA
                                                  Loan servicing, payments, escrow account
      Consumer's zip
                                                  Consumer consent to publish narrative
      945XX
                                                        Consent provided
      Submitted via
                                                  Consumer complaint narrative
      Web
                                                  I had my mortgage loan with XXXX for past 10 years.
      Tags                                        Suddenly, I received a letter on XXXX and indicated XXXX
                                                  would stop servcie our loan from XXXX XX/XX/XXXX and
      Did consumer dispute the                    Rushmore, and the new loan company who bought our loan
      response?                                   would start servicing our loan. Also, XXXX told us that we
      Yes                                         should receive the payment coupon from the new mortgage
                                                  company. That was why we did n't given our morgage
                                                  payment in XXXX becasue XXXX did n't mail the payment
                                                  statement and coupon to us. At the same time, we were
                                                  wariting for the Rushmore 's payment starting on XXXX
                                                  XX/XX/XXXX. But we could n't recieve it, so inteand sending
                                                  our XXXX XX/XX/XXXX payment to Rushmore, we sent it to
                                                  XXXX. XXXX the XXXX received it, they sent us a letter that
                                                  indicated our XXXX XX/XX/XXXX payment would be
                                                  transferred to XXXX but XXXX told us this would be the XXXX
                                                  time for the XXXX. On XXXX XX/XX/XXXX, we still could n't
                                                  receive any payment coupon from Rushmore, but we decided
                                                  to mail out payment to Rushmore anyway. We did it and
                                                  Rushmore cashed it. Since we have never and ever received
                                                  the payment coupon from Rushmore, the new loan company,
                                                  we started to feel it must be something wrong. We did n't
                                                  send our mortgage payment on XXXX XX/XX/XXXX. In XXXX
                                                  XXXX we started to hear their complaints and recevied a
                                                  complaint from the court and they asked the court to collect
                                                  our past ten month mortgage missing payments. They
https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/1333621                                         1/2
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                                           indicated that we broken the contract, etc ... We sent my XXXX
                                           XXXX, XX/XX/XXXX mortgage payment to XXXX, they
                                           returned it to me. We got all our mortgage payments history
                                           and sent to them for the dispute on XXXX XXXX, XX/XX/XXXX,
                                           but they still sent us Notice Of Intent To Foreclose and said
                                           that if we do n't pay them total of {$62000.00}, the missing
                                           payment from XXXX XXXX, XX/XX/XXXX to XXXX XXXX,
                                           XX/XX/XXXX before XXXX XXXXXX/XX/XXXX, they will initiate
                                           foreclosure proceedings ... etc.. We do have the missing
                                           payment money for total of {$24000.00}, the current XXXX

                                                  payments we owe to them but they do n't want it and they are
                                                  demading on {$62000.00}, that we do n't have it. I will hire a
                                                  attorney to send a lawsuit against the XXXX and this may be
                                                  the only chice we have at this time becuase there is no way the
                                                  Rushmore can do what they want and take our home as
                                                  granted. Amyowner of the house!



      Company information
      Date complaint sent to                      Timely response?
      company                                           Yes
      4/16/2015
                                                  Company response to consumer
      Company name                                Closed with explanation
      RUSHMORE LOAN
      MANAGEMENT SERVICES                         Company public response
      LLC




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      C              Consumer Fi   ncial
                     Protoction 8uroau




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      3809688
      Date CFPB received the                      Product
      complaint
                                                  Mortgage
      8/23/2020
                                                  Sub-product: Conventional home mortgage

      Consumer's state
                                                  Issue
      RI
                                                  Trouble during payment process
      Consumer's zip
                                                  Consumer consent to publish narrative
      029XX
                                                        Consent provided
      Submitted via
                                                  Consumer complaint narrative
      Web
                                                  my mortgage loan was transferred to Rushmore by XXXX
      Tags                                        XXXX mortgage loan last XX/XX/2020. I have been making
                                                  payments since the transfer never missed payment and now
      Did consumer dispute the                    Rushmore is sending me my monthly bill of {$4700.00} and my
      response?                                   usually monthly is only {$1400.00}. I request Rushmore to
      N/A                                         provide me info as to how they come up with this bill. they
                                                  have provided me it. This problem has been almost three ( 3 )
                                                  years now going on with XXXX XXXX but they just doing run
                                                  around ... I have been requesting Rushmore to REFI my loan
                                                  through their " STREAMLINE '' loan as suggested by RI
                                                  Housing. I haven't heard from them.



      Company information
      Date complaint sent to                      Timely response?
      company
      8/23/2020                                   •     Yes

                                                  Company response to consumer
      Company name                                Closed with explanation
      RUSHMORE LOAN
      MANAGEMENT SERVICES                         Company public response
      LLC



https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/3809688                                         1/2
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      C              Consumer Fi   ncial
                     Protoction 8uroau




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      3690834
      Date CFPB received the                      Product
      complaint
                                                  Mortgage
      6/9/2020
                                                  Sub-product: Conventional home mortgage

      Consumer's state
                                                  Issue
      CA
                                                  Trouble during payment process
      Consumer's zip
                                                  Consumer consent to publish narrative
      941XX
                                                        Consent provided
      Submitted via
                                                  Consumer complaint narrative
      Web
                                                  I am doing this complaint against my current servicer,
      Tags                                        Rushmore Loan Management and the previous servicer, XXXX
                                                  XXXX Mortgage regarding the inaccurate information
      Did consumer dispute the                    reported on my credit reports regarding my payment history. I
      response?                                   have attempted to resolve this with XXXX XXXX Mortgage for
      N/A                                         many years with no resolve as they have always told me I was
                                                  30 days behind but they could never produce when I actually
                                                  became behind stating that their records only went back to
                                                  XXXX. My payment is due on the XXXX of the month and I
                                                  always pay at the end of the month. Then when my loan was
                                                  transferred to Rushmore Loan Management, on XX/XX/XXXX,
                                                  they are now stating that I was 30 days late in XXXX, XXXX due
                                                  to the fact that XXXX transferred it to them 30 days behind,
                                                  they couldnt report any derogatories because of the 60 day
                                                  transfer rule and now I was late again. This is totally wrong and
                                                  confusing. I am in the middle of trying to refinance my loan for
                                                  a lower and fixed rate loan. My credit report is showing that I
                                                  had a 30 day late in XXXX, XXXX and now a 30 day late in
                                                  XXXX of this year. This is not true. I have attached my XXXX
                                                  XXXX receipts and proof of payments from XXXX, XXXX
                                                  through XXXX, XXXX. I need this information corrected
                                                  immediately as it is a violation of my rights to not be able to
                                                  get accurate information from my servicer all these years and
                                                  that I have made payments every month.

https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/3690834                                         1/2
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      Company information
      Date complaint sent to                      Timely response?
      company                                           Yes
      6/9/2020
                                                  Company response to consumer
      Company name                                Closed with explanation
      RUSHMORE LOAN
      MANAGEMENT SERVICES                         Company public response
      LLC




https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/3690834                                2/2
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      C              Consumer Fi   ncial
                     Protoction 8uroau




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      3661263
      Date CFPB received the                      Product
      complaint
                                                  Mortgage
      5/20/2020
                                                  Sub-product: Conventional home mortgage

      Consumer's state
                                                  Issue
      RI
                                                  Trouble during payment process
      Consumer's zip
                                                  Consumer consent to publish narrative
      029XX
                                                        Consent provided
      Submitted via
                                                  Consumer complaint narrative
      Web
                                                  Rushmore unpaid amount is in error. I have discussed this
      Tags                                        issue with them recently I even provided Rushmore copy of my
                                                  previous servicer of my account showing overpayment. I
      Did consumer dispute the                    would like to receive back-up information from Rushmore how
      response?                                   they arrived to this amount. at the same time my XX/XX/XXXX
      N/A                                         monthly due is higher than previous one. I checked with the
                                                  city assessors that my property tax has not changed at this
                                                  time it might even go down. please provide me how you come
                                                  up with this monthly due. I would like to request that I will be
                                                  given a chance to pay my property tax and homeowners
                                                  insurance myself so that no more escrow.



      Company information
      Date complaint sent to                      Timely response?
      company
      5/20/2020                                   •     Yes

                                                  Company response to consumer
      Company name                                Closed with explanation
      RUSHMORE LOAN
      MANAGEMENT SERVICES                         Company public response
      LLC



https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/3661263                                         1/2
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      C            Consumer Fi   ncial
                   Protoction 8uroau




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      1355599
      Date CFPB received the                 Product
      complaint
                                             Mortgage
      4/30/2015
                                             Sub-product: Other mortgage

      Consumer's state
                                             Issue
      VA
                                             Loan servicing, payments, escrow account
      Consumer's zip
                                             Consumer consent to publish narrative
      201XX
                                                 Consent provided
      Submitted via
                                             Consumer complaint narrative
      Web
                                             Rushmore Loan Services called me on
      Tags                                   XXXX/XXXX/XX/XX/XXXX at XXXX XXXX ET to demand my
                                             XXXX payment, which I had made the day before -- the due
      Did consumer dispute the               date -- via electronic fund transfer. Just a month ago,
      response?                              Rushmore sent me a letter stating my account was delinquent,
      No                                     and I filed a complaint with this agency. The XXXX time they
                                             made a bogus collection call was XXXX XXXX XX/XX/XXXX. I
                                             had sent a check one week earlier, and the caller stated I was
                                             delinquent. I pointed out to the caller that according to
                                             Rushmore 's payment coupon there was a ten ( 10 ) day grace
                                             period! When I returned to work, I checked my bank account
                                             online and saw that my check had actually cleared MY BANK
                                             on XXXX XXXX XX/XX/XXXX! Rushmore is abusive and
                                             bullying. I recommend that they be severely penalized -- even
                                             shut down for this on-going pattern of abuse. How many
                                             victims do not know their rights, or have access to prove
                                             Rushmore 's abusive behavior?



      Company information
      Date complaint sent to                 Timely response?
      company                                    Yes
      4/30/2015
                                                   Company response to consumer
        C
https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/1355599                               1/2
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                                                                                        Protection Bureau #: 48
      Company name                   Closed with explanation
      RUSHMORE LOAN
      MANAGEMENT SERVICES                         Company public response
      LLC




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      C              Consumer Fi   ncial
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      2928483
      Date CFPB received the                      Product
      complaint
                                                  Mortgage
      6/6/2018
                                                  Sub-product: Conventional home mortgage

      Consumer's state
                                                  Issue
      AZ
                                                  Trouble during payment process
      Consumer's zip
                                                  Consumer consent to publish narrative
      853XX
                                                        Consent provided
      Submitted via
                                                  Consumer complaint narrative
      Web
                                                  I am writing this letter of complaint regarding Rushmore Loan
      Tags                                        Management Services. We purchased our home in
                                                  XX/XX/XXXX, and later refinanced through XXXX XXXX in
      Older American,
                                                  approximately XX/XX/XXXX, in XX/XX/XXXX we added a
      Servicemember
                                                  room on to our home due to an increase in our family. We
      Did consumer dispute the                    financed a second mortgage through XXXX XXXX. We had no
      response?                                   problems at all with our loans and no disagreements
      N/A                                         regarding the on time payments to these companies. In
                                                  XX/XX/XXXX both mortgages were bought by Rushmore Loan
                                                  Management Services ( RLMS ) we have encountered nothing
                                                  but problems since RLMS purchased our loans in
                                                  XX/XX/XXXX. We have had an ongoing battle with RLMS since
                                                  XX/XX/XXXX over the payments of the first mortgage, if they
                                                  were paid or not paid. The first time we were made aware of
                                                  the Missed payment the excuse RLMS gave us was when the
                                                  1st Mortgage came over from XXXX XXXX the XX/XX/XXXX
                                                  payment did not come over with the mortgage package.
                                                  However we proved the payment did in fact follow the loan to
                                                  RLMS. Then representatives at Rushmore kept changing the
                                                  month that the payment was missing. Each time we
                                                  determined the payment for the specified month, had in fact
                                                  been paid, the month of the missing payment changed. This is
                                                  still happening to this day. In researching this matter we found
                                                  that RLMS had pulled double payments in certain months and
                                                  no payment in the following month. After proving the
https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/2928483                                         1/4
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                                           payments have all been made, we were again required to
                                           send in the proof of payments several more times. In
                                           XX/XX/XXXX, I spoke with a representative in the customer
                                           service department who after going over all the history of
                                           payments said that we were current on the payments and not
                                           to worry, because according to what she was seeing there
                                           were no missed payments. This brings us to the present issues
                                           we are having with RLMS which are as follows : On
                                           XX/XX/XXXX, we received a letter dated XX/XX/XXXX,
                                           notifying us our payment had increased from XXXX to XXXX,

                                                  Retroactive back to XX/XX/XXXX. When I called RLMS the
                                                  representative explained that was for advanced escrow fees,
                                                  they had paid our property taxes, we had already paid. We did
                                                  not receive this notice until XX/XX/XXXX, however, when I
                                                  called RLMS the representative was adamant that we were
                                                  notified prior to the letter dated XX/XX/XXXX. The
                                                  representative started to argue with me over the payment and
                                                  told me that it was too bad, we could not accommodate the
                                                  increased amount, we would pay the increased amount or
                                                  else. I hung up the phone and called back later. The
                                                  representative I spoke with at this time told me that I could
                                                  request the payment be spread out over a period of time, and
                                                  our payment amount would not increase by such a large
                                                  amount. I faxed a letter to DCA ( the department the
                                                  representative told me to fax it to, but she did not say what
                                                  DCA stood for ) the same day, XX/XX/XXXX. We have not
                                                  received written notification that our payment has been
                                                  adjusted to reflect a spread of 36 months for the advancement
                                                  of the escrow, and to continue the escrow for property tax
                                                  purposes, which in the future RLMS will be paying from the
                                                  escrow account, something we asked them to do in
                                                  XX/XX/XXXX, when this first started. RLMS stated they could
                                                  not change things to have us increase the payment to start an
                                                  escrow account. In late XX/XX/XXXX we found out that the
                                                  reason we were getting notices that we were months behind
                                                  was because of the adjustment to the payment retro to
                                                  XX/XX/XXXX. I was told by the representative I have been
                                                  dealing with about the adjustment and that to bring things
                                                  into line I needed to pay XXXX dollars to make up the
                                                  difference for the XX/XX/XXXX and XX/XX/XXXX payments. I
                                                  have been trying to do that however RLMS has not taken that
                                                  amount out of our checking account. Rushmores Confirmation
                                                  Number for this payment is XXXX, made on XX/XX/XXXX.
                                                  Later we found out RLMS was trying to take this out of a closed
https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/2928483                                 2/4
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                                                  account even though I had given the correct bank routing
                                                  number and account number. Finally, on XX/XX/XXXX, after
                                                  two more tries RLMS finally got the bank account correct and
                                                  took the XXXX. A representative, XXXX, from the California
                                                  Office was kind enough and patient enough to go over the
                                                  account payment history with me since Rushmore had taken
                                                  over the loan. I went through all my bank statements from the
                                                  time RLMS took over the loan and I have found that Rushmore
                                                  had not taken the payment for some months, but took double
                                                  payments for some months. During the months of

                                                  XX/XX/XXXX through XX/XX/XXXX Rushmore was
                                                  automatically withdrawing the payments from our checking
                                                  account. In XX/XX/XXXX, I discontinued that option, and send
                                                  the payment through my credit union bill pay directly to
                                                  Rushmore, since XX/XX/XXXX not one payment is missing. We
                                                  were also turned over to a credit bureau for being 30 days
                                                  late, due to the increase in the payment amount, the amount
                                                  of payment being sent was actually short, since the payment
                                                  had been adjusted to XXXX from the XXXX, there again we
                                                  had no idea the amount of the payment had changed and was
                                                  retro-active back to XX/XX/XXXX. We would like this to be
                                                  corrected with the credit bureau since this was of no fault of
                                                  ours. RLMS is also trying to foreclose on our loan. When I sent
                                                  a letter of complaint to RLMS DCA Dept. asking these issues
                                                  be corrected we received a letter stating the report to the
                                                  credit bureau was not an error and therefore they would not
                                                  correct the notice to the credit bureau. The complaint also
                                                  contained the rest of the issues as stated in this letter, but
                                                  those issues were not, nor have they been addressed, in fact
                                                  the issues are being totally ignored by RLMS. RLMS
                                                  representatives are now saying that we missed the payment to
                                                  XXXX XXXX in the month of XX/XX/XXXX, before RLMS even
                                                  bought the loan. We have a payment history from XXXX which
                                                  shows that every payment had been made on time. However,
                                                  RLMS wants us to get proof from our bank that the payment
                                                  was in fact taken out of our account. We have already
                                                  provided them with more than a year of past payments. The
                                                  real clincher is RLMS is also telling us that since RLMS is also
                                                  telling us that our mortgage with XXXX XXXX was part of the
                                                  program to lower our interest each year by a small interest
                                                  point, if all payments were made on time, we owe back
                                                  interest on both loans. The representative at RLMS said the
                                                  reason for this is because there was a class action settlement
                                                  inXX/XX/XXXX because of a law suit against the program, and
https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/2928483                                 3/4
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                                                  in that settlement the requirement was to pay back all that
                                                  interest by adding it to the end of all the customers mortgages
                                                  who were under that program. This is the first time we have
                                                  heard of such a thing. Shouldnt XXXX have been the one to
                                                  notify us when this took place, since it was in XX/XX/XXXX,
                                                  months before our loan was sold to RLMS? If this really is our
                                                  problem, shouldnt we have gotten legal notice? We want to
                                                  straighten out this mess with RLMS and be able to come to
                                                  some kind of agreement to get this back on track. Just a side
                                                  note, while researching RLMS I found numerous complaints

                                                  for the same type of dealings with others, those that had
                                                  mortgages with XXXX XXXX are receiving the type of
                                                  treatment we are. One Consumer Advocate site listed 355
                                                  complaints against Rushmore Loan Management Services.



      Company information
      Date complaint sent to                      Timely response?
      company                                           Yes
      6/6/2018
                                                  Company response to consumer
      Company name                                Closed with explanation
      RUSHMORE LOAN
      MANAGEMENT SERVICES                         Company public response
      LLC




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      C              Consumer Fi   ncial
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      1478531
      Date CFPB received the                      Product
      complaint
                                                  Mortgage
      7/21/2015
                                                  Sub-product: Conventional fixed mortgage

      Consumer's state
                                                  Issue
      MI
                                                  Loan servicing, payments, escrow account
      Consumer's zip
                                                  Consumer consent to publish narrative
      48103
                                                        Consent provided
      Submitted via
                                                  Consumer complaint narrative
      Web
                                                  My wife and I experienced financial difficulties in XXXX. We
      Tags                                        requested a loan modification from the servicer of our
                                                  mortgage. Initially we were told that we had not submitted
      Did consumer dispute the                    sufficient financial information. This was rectified within two
      response?                                   days. Then the servicer lost the new information. Within a few
      No                                          weeks we were informed that the information had been found
                                                  and that our request was being processed. Five months
                                                  elapsed with regular contacts from us but no response to our
                                                  modification request from the servicer. Then the loan was sold
                                                  to another holder and the servicer was changed. The new
                                                  servicer told us we would likely qualify for a modification, but
                                                  that we would have to submit all new financial information,
                                                  which we did. In response, we received a short sale offer. We
                                                  protested that we were requesting a loan modification. Many
                                                  months passed and then the servicer requested all new
                                                  financial information, which we provided. Again many months
                                                  passed and again we were offered a short sale. When we
                                                  refused the short sale, the lender began a judicial foreclosure.
                                                  After a few years in court, the judicial foreclosure was settled
                                                  with a loan modification. XXXX parties waived any claims
                                                  arising out of events prior to the settlement except as to the
                                                  obligations identified in the Settlement Agreement. This took
                                                  place in XX/XX/XXXX Since then we have made all required
                                                  payments on time. Nonetheless XX/XX/XXXX, our mortgage
                                                  statements began including the statement that we owed
https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/1478531                                         1/2
6/23/2021         Case: 1:21-cv-01248-PAB       Doc #:Complaint
                                   Search the Consumer  1-6 Filed:
                                                                Database06/25/21     18 of 32.
                                                                         | Consumer Financial       PageID
                                                                                              Protection Bureau #: 54

                                           {$3300.00} as " recoverable advances ''. Neither this sum, nor
                                           the concept of " recoverable advances '' was mentioned in the
                                           Settlement Agreement. We have written to the servicer asking
                                           for an explanation of this charge. Our most recent request was
                                           on XXXX XXXX, XXXX. On XXXX XXXX, the servicer sent a
                                           reply stating that it would require additional time to review our
                                           inquiry but that a response would be forthcoming within 15
                                           days. None has been received, and our most recent
                                           statement, dated XXXX/XXXX/XXXX still shows " recoverable
                                           advances '' of {$3300.00}.



      Company information
      Date complaint sent to                      Timely response?
      company                                           Yes
      7/21/2015
                                                  Company response to consumer
      Company name                                Closed with explanation
      RUSHMORE LOAN
      MANAGEMENT SERVICES                         Company public response
      LLC




https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/1478531                                 2/2
6/23/2021         Case: 1:21-cv-01248-PAB       Doc #:Complaint
                                   Search the Consumer  1-6 Filed:
                                                                Database06/25/21     19 of 32.
                                                                         | Consumer Financial       PageID
                                                                                              Protection Bureau #: 55



      C              Consumer Fi   ncial
                     Protoction 8uroau




      <Back to search results                                                             What do all these data points mean?


      2358829
      Date CFPB received the                      Product
      complaint
                                                  Mortgage
      2/23/2017
                                                  Sub-product: Conventional fixed mortgage

      Consumer's state
                                                  Issue
      DE
                                                  Loan servicing, payments, escrow account
      Consumer's zip
                                                  Consumer consent to publish narrative
      Submitted via                                     Consent provided
      Web
                                                  Consumer complaint narrative
      Tags                                        I was in formed via letter from the mortgage company in XXXX
                                                  that I no longer needed to pay PMI {$27.00}. I called the
      Did consumer dispute the                    company XXXX as my statement did not reflect the new
      response?                                   payment amount. I was told my new payment would be
      Yes                                         {$510.00} and it will take their system a couple of cycles to
                                                  catch up. It 's XXXX and I 'm about to make my XXXX payment
                                                  however my statement still does not reflect the new amount. I
                                                  have been paying {$540.00} indicating on the payment stub
                                                  that {$27.00} should be applied to the principle. I called the
                                                  company today to inquiry and was told they were not applying
                                                  the funds as I wanted. They were applying the funds to the
                                                  escrow account because there would be a shortage. I was
                                                  never notified of an escrow shortage in writing or when I
                                                  called in XXXX. The company says they can not reverse the
                                                  payments to the escrow account because of the shortage and I
                                                  should be paying {$540.00} to cover it. Since I was not notified
                                                  of the shortage I would like an escrow history. I would like the
                                                  company to credit me the amount of money roughly {$27.00}
                                                  a month for XXXX, XXXX and XXXX to the principle. I would
                                                  like the company to correct any future statements with the
                                                  correct payment amounts.



      Company information
https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/2358829                                         1/2
6/23/2021    Case: 1:21-cv-01248-PAB       Doc #:Complaint
                              Search the Consumer  1-6 Filed:
                                                           Database06/25/21     20 of 32.
                                                                    | Consumer Financial       PageID
                                                                                         Protection Bureau #: 56

      Date complaint sent to          Timely response?
      company
                                          Yes
      2/23/2017
                                                  Company response to consumer
      Company name
                                                  Closed with explanation
      RUSHMORE LOAN
      MANAGEMENT SERVICES                         Company public response
      LLC
                                                  Company believes it acted appropriately as authorized by
                                                  contract or law




https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/2358829                            2/2
6/23/2021         Case: 1:21-cv-01248-PAB       Doc #:Complaint
                                   Search the Consumer  1-6 Filed:
                                                                Database06/25/21     21 of 32.
                                                                         | Consumer Financial       PageID
                                                                                              Protection Bureau #: 57



      C              Consumer Fi   ncial
                     Protoction 8uroau




      <Back to search results                                                             What do all these data points mean?


      2336693
      Date CFPB received the                      Product
      complaint
                                                  Mortgage
      2/9/2017
                                                  Sub-product: Other mortgage

      Consumer's state
                                                  Issue
      NJ
                                                  Loan servicing, payments, escrow account
      Consumer's zip
                                                  Consumer consent to publish narrative
      Submitted via                                     Consent provided
      Web
                                                  Consumer complaint narrative
      Tags                                        i did a modification through mortgage servicer. Just prio to
                                                  the modification they sent me a change of interest, reducing
      Did consumer dispute the                    by 1.5 %. They refused to honor it, stating it was ubder XXXX
      response?                                   guidelines, but XXXX states they do n't own the loan. I have
      No                                          complained to them several times, they said they do n't have
                                                  to honor it. They wont accept the payment based on the new
                                                  rate, which will change in XX/XX/XXXX this year and agin to
                                                  the orginal in XX/XX/2018 When i intitiated my modification
                                                  they did an analysis that showed it was {$25000.00} less than
                                                  wed but never reduced the principal,, stating they do n't have
                                                  to follow hamp guidelines



      Company information
      Date complaint sent to                      Timely response?
      company
      2/9/2017                                    •     Yes

                                                  Company response to consumer
      Company name                                Closed with explanation
      RUSHMORE LOAN
      MANAGEMENT SERVICES                         Company public response
      LLC



https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/2336693                                         1/2
6/23/2021         Case: 1:21-cv-01248-PAB       Doc #:Complaint
                                   Search the Consumer  1-6 Filed:
                                                                Database06/25/21     22 of 32.
                                                                         | Consumer Financial       PageID
                                                                                              Protection Bureau #: 58




https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/2336693                                 2/2
6/23/2021         Case: 1:21-cv-01248-PAB       Doc #:Complaint
                                   Search the Consumer  1-6 Filed:
                                                                Database06/25/21     23 of 32.
                                                                         | Consumer Financial       PageID
                                                                                              Protection Bureau #: 59



      C              Consumer Fi   ncial
                     Protoction 8uroau




      <Back to search results                                                             What do all these data points mean?


      2290783
      Date CFPB received the                      Product
      complaint
                                                  Mortgage
      1/17/2017
                                                  Sub-product: Conventional adjustable mortgage (ARM)

      Consumer's state
                                                  Issue
      FL
                                                  Loan servicing, payments, escrow account
      Consumer's zip
                                                  Consumer consent to publish narrative
      Submitted via                                     Consent provided
      Web
                                                  Consumer complaint narrative
      Tags                                        I was divorced XX/XX/XXXX. XX/XX/XXXX at the time of
                                                  separation from my ex, I did not have a job and missed XXXX
      Did consumer dispute the                    mortgage payments. My ex later filed bankruptcy. XXXX, the
      response?                                   original servicer, sent me all sorts of paperwork for resolution
      Yes                                         ... none of them were an appropriate option as either I could
                                                  not qualify, or it would increase my payment. Once I started
                                                  working, I set up auto payments through my bank. Never
                                                  missing a payment, or being late since then. XXXX, after
                                                  telling them my story continued to harass me in the form of
                                                  false credit bureau reporting that I was consistently 3 months
                                                  behind and charging late fees for several months which they
                                                  did not remove, and additional monthly fees for inspection
                                                  reports, etc. I wrote to them without resolve. They did NOT
                                                  even respond to me!! Beginning XX/XX/XXXX, my loan was
                                                  sold to a new lender and was also assigned a new servicer,
                                                  Rushmore Loan Management. Now, I recently received an
                                                  intent to foreclose notice and I have NOT even missed a
                                                  payment with them. This has ruined my credit score and
                                                  caused me much XXXX. The mortgage company has sent
                                                  people out to my property taking pictures which I find not only
                                                  inappropriate, but harrassing. They have NO reason to be
                                                  doing this. My payments are timely and even though I do not
                                                  have escrows, my Insurance and Taxes are ALWAYS paid on
                                                  time. Please help me get this problem corrected. I would like
                                                  all the late fees and inspection fees that I did not authorize
https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/2290783                                         1/2
6/23/2021         Case: 1:21-cv-01248-PAB       Doc #:Complaint
                                   Search the Consumer  1-6 Filed:
                                                                Database06/25/21     24 of 32.
                                                                         | Consumer Financial       PageID
                                                                                              Protection Bureau #: 60

                                           removed from my account. Also, my loan is being reported
                                           now as over 90 days past due, which is NOT the case.



      Company information
      Date complaint sent to                      Timely response?
      company                                           Yes
      1/17/2017
                                                  Company response to consumer
      Company name                                Closed with explanation
      RUSHMORE LOAN
      MANAGEMENT SERVICES                         Company public response
      LLC                                         Company believes it acted appropriately as authorized by
                                                  contract or law




https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/2290783                                 2/2
6/23/2021         Case: 1:21-cv-01248-PAB       Doc #:Complaint
                                   Search the Consumer  1-6 Filed:
                                                                Database06/25/21     25 of 32.
                                                                         | Consumer Financial       PageID
                                                                                              Protection Bureau #: 61



      C              Consumer Fi   ncial
                     Protoction 8uroau




      <Back to search results                                                             What do all these data points mean?


      1906817
      Date CFPB received the                      Product
      complaint
                                                  Mortgage
      5/2/2016
                                                  Sub-product: FHA mortgage

      Consumer's state
                                                  Issue
      WA
                                                  Loan servicing, payments, escrow account
      Consumer's zip
                                                  Consumer consent to publish narrative
      983XX
                                                        Consent provided
      Submitted via
                                                  Consumer complaint narrative
      Web
                                                  This is in reference to CFPB case Number : XXXX ; We sent a
      Tags                                        QWR to Rushmore Loan company. The QWR response from
                                                  Rushmore was within the time confinements, but was a
      Did consumer dispute the                    INCOMPLETE response. This QWR was a request for
      response?                                   information from Rushmore LLC, since WE HAVE NOT
      Yes                                         RECEIVED ANY CORRESPONDENCE FROM THEM FOR 1
                                                  YEAR after being transferred to their service!!! NO
                                                  NOTIFICATION FROM THIS " SERVICER '' FOR A YEAR?? WHO
                                                  COULD AND SHOULD HAVE CONFIDENCE IN THIS
                                                  COMPANY?? As per the QWR documents Rushmore sent
                                                  earlier this month -- -- still not included with their response
                                                  were ANY copies of ANY documents that are/were required
                                                  throughout the year. It was as if they just " discovered '' us,
                                                  when I sent the information and documentation request by
                                                  QWR!! Insufficient documentation : 1. Limited documentation
                                                  of the date and service transfers from previous servers. 2. NO
                                                  documentation of the " forced placed insurance '' policy, i.e.,
                                                  policy copy, dates of coverage, amount charged to our
                                                  account. 3. Indications that Rushmore did not have " add-ons ''
                                                  to our loan " during the time Rushmore has been servicing our
                                                  loan '' ... what about the previous servers? 4. NO documents
                                                  to establish the CHAIN between the original lender and the
                                                  current owner of the Note and Mortgage. 5. Payment History --
                                                  THE QWR Account History was the FIRST documentation to us
                                                  from Rushmore in an ENTIRE YEAR! Payment histories were
https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/1906817                                         1/3
                                                                            6/23/2021                                  Search the Consumer Complaint Database | Consumer Financial Protection Bureau
                                                                                                                              enclosed for previous XXXX ( XXXX ) and scattered
                                                                                                                              documents ( no payment history ) from XXXX, other previous
                                                                                                                              servicers were not included. Again this does NOT SHOW THE
                                                                                                                              CHAIN between the ORIGINATING lender and teh current
                                                                                                                              owner of our Note and Mortgage. 6. Annual Escow Analysis
                                                                                                                              Statement was not sent by Rushmore, but a copy of XXXX 's
                                                                                                                              Annual Escow Analysis completed LAST YEAR. None from
                                                                                                                              Rushmore. Questions not responded to : 1.What is electronic
                                                                                                                              XXXX number assigned to this account. 2. Proof of true sale of
                                                                                                                              the note from Lender to investors. 3. XXXX XXXX Report in
Case: 1:21-cv-01248-PAB Doc #: 1-6 Filed: 06/25/21 26 of 32. PageID #: 62




                                                                                                                              order to see the audit trail of the alleged transfer in ownership
                                                                                                                              and transfer in security interest. 3..A complete AUDIT HISTORY
                                                                                                                              from loan origination ( XXXX/XXXX/2002 ) showing dates
                                                                                                                              payments were applied and to what internal accounts (
                                                                                                                              principal, interest, suspense, escrow, etc ). 4. A complete and
                                                                                                                              itemized escrow for this account, from the date of the original
                                                                                                                              note ( XXXX/XXXX/2002 ) to the date of the QWR. 5. A
                                                                                                                              complete and itemized statement from the date of origination
                                                                                                                              of the loan to the date of the QWR, showing ALL forced-
                                                                                                                              placed insurance, the name of the insurance co. and the
                                                                                                                              relation of the INSURANCE company to the servicer at the
                                                                                                                              time or a related company, and the amount of commissions
                                                                                                                              the servicers of my loan have received. 7. What does this
                                                                                                                              acronym stand for " XXXX '' Investors? Are they associated
                                                                                                                              with ANY pervious owners of my note ( e.g., XXXX ; XXXX ), as
                                                                                                                              being owned by these banks? Does XXXX have connections
                                                                                                                              or business assocations with any previous servicers? 8. NO
                                                                                                                              copies of loan modification attached, when XXXX and
                                                                                                                              Rushmore were BOTH sent final loan modification papers right
                                                                                                                              about the time that WE WERE TRANSFERRED TO
                                                                                                                              RUSHMORE!!! Rushmore 's lack of communication and
                                                                                                                              documentation is atrocious!
                                                                                  Company information
                                                                                  Date complaint sent to                      Timely response?
                                                                                  company                                           Yes
                                                                                  5/3/2016
                                                                                                                              Company response to consumer
                                                                                  Company name                                Closed with explanation
                                                                                  RUSHMORE LOAN
                                                                                  MANAGEMENT SERVICES                         Company public response
                                                                                  LLC
                                                                            https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/1906817                                    2/3
6/23/2021         Case: 1:21-cv-01248-PAB       Doc #:Complaint
                                   Search the Consumer  1-6 Filed:
                                                                Database06/25/21     27 of 32.
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                                                                                              Protection Bureau #: 63




https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/1906817                                 3/3
6/23/2021         Case: 1:21-cv-01248-PAB       Doc #:Complaint
                                   Search the Consumer  1-6 Filed:
                                                                Database06/25/21     28 of 32.
                                                                         | Consumer Financial       PageID
                                                                                              Protection Bureau #: 64



      C              Consumer Fi   ncial
                     Protoction 8uroau




      <Back to search results                                                             What do all these data points mean?


      1402985
      Date CFPB received the                      Product
      complaint
                                                  Mortgage
      6/2/2015
                                                  Sub-product: Conventional fixed mortgage

      Consumer's state
                                                  Issue
      CA
                                                  Loan servicing, payments, escrow account
      Consumer's zip
                                                  Consumer consent to publish narrative
      900XX
                                                        Consent provided
      Submitted via
                                                  Consumer complaint narrative
      Web
                                                  I have been paying monthly mortgage payments to Rushmore
      Tags                                        Loan Management S,ervices on a regular basis for years.
                                                  Recently I have used XXXX online payment service for this
      Older American
                                                  purpose. Rushmore claims that they have not been getting the
      Did consumer dispute the                    bank transfer funds and threaten me with numerous phone
      response?                                   calls at all hours. My bank records show valid fund transfers. I
      No                                          am unable to talk to reliable Rushmore employees , usually
                                                  their phone numbers do not answer. I do not want to
                                                  jeopridise my mortgage, but do not know how to proceed.
                                                  Please advise XXXX



      Company information
      Date complaint sent to                      Timely response?
      company                                           Yes
      6/2/2015
                                                  Company response to consumer
      Company name                                Closed with explanation
      RUSHMORE LOAN
      MANAGEMENT SERVICES                         Company public response
      LLC




https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/1402985                                         1/1
6/23/2021         Case: 1:21-cv-01248-PAB       Doc #:Complaint
                                   Search the Consumer  1-6 Filed:
                                                                Database06/25/21     29 of 32.
                                                                         | Consumer Financial       PageID
                                                                                              Protection Bureau #: 65



      C              Consumer Fi   ncial
                     Protoction 8uroau




      <Back to search results                                                             What do all these data points mean?


      1401042
      Date CFPB received the                      Product
      complaint
                                                  Mortgage
      6/1/2015
                                                  Sub-product: Conventional fixed mortgage

      Consumer's state
                                                  Issue
      CA
                                                  Loan servicing, payments, escrow account
      Consumer's zip
                                                  Consumer consent to publish narrative
      946XX
                                                        Consent provided
      Submitted via
                                                  Consumer complaint narrative
      Web
                                                  Rushmore loan management services has been sending
      Tags                                        letters saying we are in default of our mortgage. The most
                                                  recent letter is dated XX/XX/2015 and states that we are in
      Did consumer dispute the                    default as of XX/XX/2015. Obviously, this makes no sense.
      response?                                   Additionally, according to bank records the mortgage
      No                                          payments sent to Rushmore have been cleared every month
                                                  since we've had this mortgage. This letter dated XX/XX/2015
                                                  is the XXXX letter we've received. After the XXXX letter I called
                                                  the company & they said they would take care of it. Today I
                                                  was told that they couldn't talk to me because I'm not my
                                                  husband! I am concerned that this will affect our credit rating.



      Company information
      Date complaint sent to                      Timely response?
      company
      6/1/2015                                    •     Yes

                                                  Company response to consumer
      Company name                                Closed with explanation
      RUSHMORE LOAN
      MANAGEMENT SERVICES                         Company public response
      LLC



https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/1401042                                         1/2
6/23/2021         Case: 1:21-cv-01248-PAB       Doc #:Complaint
                                   Search the Consumer  1-6 Filed:
                                                                Database06/25/21     30 of 32.
                                                                         | Consumer Financial       PageID
                                                                                              Protection Bureau #: 66




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6/23/2021         Case: 1:21-cv-01248-PAB       Doc #:Complaint
                                   Search the Consumer  1-6 Filed:
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                                                                                              Protection Bureau #: 67



      C              Consumer Fi   ncial
                     Protoction 8uroau




      <Back to search results                                                             What do all these data points mean?


      1336445
      Date CFPB received the                      Product
      complaint
                                                  Mortgage
      4/19/2015
                                                  Sub-product: Other mortgage

      Consumer's state
                                                  Issue
      WA
                                                  Loan servicing, payments, escrow account
      Consumer's zip
                                                  Consumer consent to publish narrative
      986XX
                                                        Consent provided
      Submitted via
                                                  Consumer complaint narrative
      Web
                                                  rushmore loan management services is not applying my
      Tags                                        payments sent by XXXX on time in order to allegedly generate
                                                  late fees and retaliation for me complaining to the uscfpb for
      Older American,
                                                  not applying m y payments on time. it is all over the internet
      Servicemember
                                                  they do this and they refused to allow my bank and bill payer
      Did consumer dispute the                    service to send my payments electronically by federal reserve
      response?                                   ach money transfer that would end all of these games they
      Yes                                         play. so I sent the following message to rushmore and my
                                                  bank 's bill payer service told me they mailed the payment
                                                  from XXXX, California to rushmore in XXXX California and
                                                  XXXX XXXX, 2015 and received by them and as of XXXX
                                                  XXXX rushmore still has not answered my previous complaint
                                                  to uscfpb not given me my amortization schedule for this
                                                  predatory loan that I never applied for and complained to the
                                                  XXXX credit bureaus that it is not my loan and never applied
                                                  for it and have no settlement documents for. so here is the
                                                  message i sent t o rushmore loan management services. my
                                                  bill payer service sent me a notice that the payment for XXXX
                                                  2015 was mailed to you from XXXX California on XXXX XXXX,
                                                  2015 and you received it on XXXX XXXX, XXXX it has not
                                                  been submitted by you for payment. it seems you did this last
                                                  month and credited my payment after the grace period on
                                                  XXXX XXXX, XXXX allegedly holding the payment for
                                                  crediting for 8 days before applying to my account. this time
                                                  you still have n't applied the payment. the payment was
https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/1336445                                         1/2
6/23/2021         Case: 1:21-cv-01248-PAB       Doc #:Complaint
                                   Search the Consumer  1-6 Filed:
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                                           mailed to you and the money is in the bank to pay it. why not
                                           stop playing games in order to generate late fees. it is all over
                                           the internet you do this illegal practice. please apply my
                                           payment immediately. I have contacted my bank and their bill
                                           payer service to find out why you have n't applied my payment
                                           for XXXX 2015 per your letter to me to that effect that I
                                           received on Saturday XXXX, XXXX, 2015. as I said they still
                                           have not answered my previous complaint and when I called
                                           them in XXXX they solicited me to do a loan modification
                                           when I have never been late or behind they are doing this to

                                                  manufacture a default by not applying the payments. and
                                                  coordinating with XXXX bank that also manufactures defaults
                                                  by not applying payments.



      Company information
      Date complaint sent to                      Timely response?
      company                                           Yes
      4/19/2015
                                                  Company response to consumer
      Company name                                Closed with explanation
      RUSHMORE LOAN
      MANAGEMENT SERVICES                         Company public response
      LLC




https://www.consumerfinance.gov/data-research/consumer-complaints/search/detail/1336445                                 2/2
